 1                                                                        Judge Ronald B. Leighton
                                                                 Magistrate Judge David W. Christel
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                            IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
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     DONALD BANGO and SCOTT BAILEY,
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     individually and on behalf of all others
12   similarly situated,
                                                         No. 3:17-cv-06002-RBL-DWC
13          Plaintiffs,
                                                         PLAINTIFFS’ MOTION FOR
14          vs.                                          CLARIFICATION/RECONSIDERATION
                                                         AND RELIEF FROM JUDGMENT
15   PIERCE COUNTY, WASHINGTON;
     PIERCE COUNTY SHERIFF’S                             NOTE ON MOTION CALENDAR:
16   DEPARTMENT,                                         MAY 11TH, 2018
17          Defendants.
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                                          I.   INTRODUCTION
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21       COME NOW Plaintiffs Donald Bango (“Bango”) and Scott Bailey (“Bailey”)

22   (collectively “Plaintiffs”), by and through their below attorneys of records, and request the
23   Court clarify the Order on Magistrate Judge David W. Christel’s Report and Recommendation
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     [Dkt. #43]. Magistrate Judge Christel recommended granting Defendants Pierce County and
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     Pierce County Sheriff’s Department’s (collectively “Defendants”) Motion for 12(b)(1)
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     Dismissal Regarding Administration of Psychiatric Medication to Outgoing Inmates (“Motion

      PLAINTIFFS’ MOTION FOR                                        AMERICAN CIVIL LIBERTIES UNION OF
      CLARIFICATION/RECONSIDERATION                                         WASHINGTON FOUNDATION
                                                                              901 FIFTH AVENUE #630
      AND RELIEF – PAGE 1                                                         SEATTLE, WA 98164
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 1   to Dismiss”) [Dkt. #41]. In its May 7, 2018 Order, the Court states, “[t]he Report and
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     Recommendation regarding dismissal is ADOPTED, and plaintiffs’ complaint is
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     DISMISSED without prejudice.” See Dkt. #43 at ¶1 (emphasis added). The May 7, 2018
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     Order triggered the issuance of a judgment on May 10, 2018. Dkt. #44. However, the scope
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     of Defendants’ Motion to Dismiss was limited to one issue: whether Plaintiffs have Article III
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 7   standing to bring their administration of psychiatric medication upon release claim. See Dkt.

 8   #27; see also Magistrate Judge Christel’s Recommendation and Report at Dkt. #41. Because
 9   Defendants sought no other relief and the Recommendation and Report is limited to one (1) of
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     seven (7) claims raised in the Complaint, Plaintiffs respectfully request that the Court clarify
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     and/or reconsider the Order of May 7, 2018, and provide relief from judgment. Further,
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     Plaintiffs request that the Court clarify that Pierce County Sheriff’s Department remains a
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14   Defendant in this action, see Dkt. #39, although the only Defendant listed in the heading of

15   the Court’s May 7, 2018 Order is Pierce County. See Dkt. #43.

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                                            II.   ARGUMENT
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        “The court may correct a clerical mistake or a mistake arising from oversight or omission
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19   whenever one is found in a judgment, order, or other part of the record. The court may do so

20   on motion or on its own, with or without notice.” See Fed. R. Civ. P. 60(a). Further, the court
21   may relieve a party from judgment based on mistake or inadvertence. See Fed. R. Civ. P.
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     60(b). Here, Plaintiffs believe the Court intended to only dismiss the claim that was the
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     subject of Defendants’ Motion to Dismiss, and not the entire Complaint. To that extent,
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     Plaintiffs seek clarification and correction of the May 7, 2018 Order to reflect that only the
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26   administration of psychiatric medication upon release claim has been dismissed, and that the



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 1   other claims remain before the Court. Further, Plaintiffs seek relief from the judgment
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     triggered by the May 7, 2018 Order. Finally, Plaintiffs seek clarification and correction of the
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     Order to reflect that Pierce County Sheriff’s Department remains a Defendant in this action.
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                                           III. CONCLUSION
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        For the foregoing reasons, Plaintiffs respectfully request the Court clarify and/or
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 7   reconsider the Order on Defendants’ Motion to Dismiss and provide relief from judgment.

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            Respectfully submitted this 11th day of May, 2018.
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      NO. 3:17-CV-06002-RBL-DWC                                                        (206) 624-2184
 1                                  I. CERTIFICATE OF SERVICE
 2          I hereby certify that on May 11, 2018, I electronically filed the foregoing and the
 3
     attached Proposed Order with the Clerk of the Court using CM/ECF which will send
 4
     notification of such filing to the following:
 5
     Michelle Luna-Green, WSBA #27088                      Frank Cornelius, WSBA #29590
 6   Deputy Prosecuting Attorney                           Deputy Prosecuting Attorney
     Pierce County Prosecuting Attorney’s Office           Pierce County Prosecuting Attorney’s Office
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                                            /s/ Kaya McRuer
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